Case:13-19032-MER Doc#:194 Filed:05/19/16 Entered:05/19/16 09:09:57 Pagel of 14

. = od
DEBTOR: “7EuiCY £ Ye rr CV ANSE! MONTHLY OPERATING REPORT
CHAPTER 11
CASE NUMBER: |% -jqo3> Mel
Form =-A
COVER SHEET

For Period Ending Y-30 7 Z2ef G

Accountiny Method: [_ |écorual Basis [iicasn ‘Basis

THIS REPORT IS DUE 21 DAYS AFTER THE END OF THE M ONTH
Debtor must attach each of the foltowing raporta/documants unless the L. S. Trustee
hes waived the requiremant in-wriling. File the orginal with the Clar: of Court.

Mark One Box for Each
Submit2 duplicate, with onpinal signature, to the U.S. Trustee.

 

Required Document:
ReportDocument Previously
Anachad Waived REQUIRED ‘REPORTS/DOCUMENTS

 

4. Cash Receipts and Disursements Statement (Form 2-5)
2. Balance Sheet (Form 2-0)

23. Profit and Loss Statement {Form2-D)

~, Supporting Schedules {Form 2-5)

. Quarterly Fee Summary {Form 2-F}

‘6. Narrative (Form2-&)

7. Bank Statements for All Bank Accounts

IMPORTANT: Redact.account numbers and remove ch
2. Bank Statement Reconciliations for all Bank Accounts
a GZ CféS

pees FRRGo + le

eck images

Aw@ekMaea a
oooogded

Monthiy Operating Report, and any

| declare under penalty of perjury that fhe following
the best of my knowledge and beliei.

afachments thereto are Irve, accurate and correct to

4/ We. Print Name: TEL (4 & U Ard Ory

Executed on: )
Signature: ZZ _

Title:

    

 

 

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DEBTOR: Tepy f Luérré Lip! Ser) CASE NO: (37 (GOs ames .

Form 2-B
CASH RECEIPTS AND DISBURSEMENTS STATEMENT
ForPeriot:__// L Lew ff: Zo, LHe

 

 

 

 

CASH RECEIPTS DETAIL AccountNo: | 75 7G. |
(attach additional sheets 25 necessary)
| Date | [ Payer | | Description | |. Amount |
3
4
By cof Mery 7 s, 3 6
‘ ° fe — ee
b SSS Ss:
[digtpt FF /19 2
b Henne
Total Cash Receipts s 6Y7E.°* _(1)

Page 2 of3

od agree with total cash receipts listed on Farm 2-E, page?
: Rov, 1200s

(1) otal for all account shoul
CasestS-19082-MER Doc#:194 Filed:05/19/16 Entered:05/19/16 09:09:57 Page3 of 14

- a
DEBTOR: Kenna Lywerré Byan Son CASENG: [3- (Foro mee .

‘Form 2-B
CASH RECEIPTS ND DISBURSEMENTS STATEMENT
For Period: wo 4/so/le,
ecounm No: 345 7&
| | Description (Purpose) _| Je Amount |

CASH DISBURSEMENTS DETAIL
(attach additiona! sheets as mecessary)

1 Date ‘| Tchesk No. | Payee

 

S027

 

 

vAL tz ae
KeatTh re: /e / we
fp ' Yoo ~ |
he V4
tte Soe of
ZY 2 7
fs The: 392
i Ye “
2 bo 24s
Prcormek as
3347"

Prusaenins

(1) Total forall accounts shouto agree with toial

Total Cash Disbursements

cesh disbursements listed on Form 2.B, page 7

eo
§ @ 206. 3) (1)

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oo - .
DEBTOR: Tet ¥ / ywérr€ CUA? $00 CASE NO: j3~-/9032 me:

Form 2-8
CASH RECEIPTS AND, DISBURSEMENTS STATEMENT

For Period: ¢) [ite 2 YG [RIE

Current

CASH FLOW SUMMARY
‘Month Accumulated

17
4, Beginning Cash Balance = 3753 7) So)

2, Cash Receipts 6496 sx
Operations
Sale of Assets
Loans/advances
Other
—— 5 ae : ee
4. Cash Disbursements . 36
Operations 4 5S ¥.7
Debt Service/Secured loan payment g C
Professional fees/U.S. Trustee tees 2. 2 ‘ 7 —
Other Y
. Se
Jota] Cash Disbursements 3 206. 3f{- 3
4. Net Gash Flow (Total Cash Receipts lass fo 9¢ of
EE

otal Cash Disbursements)

 

oe
3 4077 ~ 5

 

 

 

 

 

 

 

 

 

= Ending Cash Balance (to Form2-S) (2)
CASH BALANCE SUMMARY Book
‘Financial Institution Balance
Petty Cash $ 0
DIP Operating Accoun! 35 7& 4074
DIP State Tax Accoun!
DIP Payroll Account
Other Operating Account
Other interest-bearing Account
o74-oY (2)

TOTAL (must agree with Ending Cash Balance above) >

(f) Accumulated beginning cash baiance is the cash available at the commencement of the case.
Current month beginning cash balance should equal the previous month's ending Balance. Page tars
(2) All cash balances should be the same. Rev. 121022009
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oF we x FD x
DEBTOR: 7 Etiliyl tn Levee EV an Ser CASE NO: [3- (96S AIMMER -
Form 2-0

COMPARATIVE BALANCE S EET.
ror Period Ended: i 2A

  

Current Petition

ASSETS Month Date (1)
Current Assets:
Cash (fram Form 2-B, line 5)
Accounts Receivable (from Form 2-E)
Receivable from Ofcers, Employees, Affiliates
Inveniory
Other Current Assets >(List)

 

Total Currant Assets 3
Fixed Assets:
Land 5 a
Building
Equipment, Furniture and Fixtures
Total Fixed Assets
Lese: Accumulated Depreciation ( }

Net Fixed Assets S

 

 

Other Assets (List):

TOTAL ASSETS $ Gz $s

LIABILITIES
Post-petition Accounts Payable (irom Form 2-5) 3
Posi-petition Accrued Profesional Fees (from Formm.2-5)

Posi-petition Taxes Payable (from Form 2-5)
Posi-patition Notes Payable
Other Post-patition Payable(List):

 

 

 

a

Total Post Petition Liabilities 3 S

 

 

Pre Petition Liabilities:
Secured Debt
Priority Debt
Unsecured Debt

 

Total Pre Petition Liabilities ' $ ss
TOTAL LIABILITIES s Gr

OWNERS’ EQUITY
Owners/Stackholder’s Equity $
Retained Eamings - Prepetition
Retained Eamings - Pest-petition
TOTAL OWNERS’ EQUITY S $

TOTAL LIABILITIES AND OWNERS’ EQUITY 3 d? 2

 

 

 

 

 

{f) Petition date vaiues are taken from the Debtor's balance sheai as of the petition date or are the values Page 1 of 4
listed on the Debtor's schadules. Rey, 12/10/2605
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rm Cc * - As yy) LE,
DEBTOR: ep eLean Ere Cv Aeséa CASE NO: (3 -/90% >. Mex.

 

 

 

Form 2-D
PROFIT AND LOSS STATEMENT
ForPeriod 3 /) hie to [ee hice
Current Accumulated
Month Total (1)
6
Gross Operating Revenue s 6446: © 5
Less: Discounts, Returns and Allowances (| = < ( _
Phd ES
Net Operating Revenue $ 6S a +
Cost of Goods Sold ~ - eee
5
Gross Profit 5 b { 46 it I scalp
Operating Expenses
Officer Compensation S =
Selling, General and Administrative
Rents-and Leases
Depreciation, Depletion and Amoriizaiion
Other (iisth:
a » TT
Zo
Total Operating Expenses 3 39 ce." =
92
Operating income (Loss) $ 2636, — S

 

Non-Operating Income and Expenses
Other Non-Operating Expenses 3 =
Gains (Losses) on Sale of Assets
interest Income
interest Expense
Other Non-Operating Income

Net Non-Operaiing Income or (Expenses) S 3.

 

Reorganization Expenses
Legal and Professional Fees S 3
Other Reorganization Expense

 

 

 

 

 

Total Reorganization Expenses $ S _
np oo te
Net Income (Loss) Before Income Taxes § DJ63% — 5
Federal and Stats income Tax Expense (Benetif)
NE a
ae eee fT
NET INCOME {LOSS) 5 A-3¢. §
(ft) Accumulated Totais inciude al! ravente ang expenses since the petition date,

Page 1 of 1
Rey, 12/10/2008
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cero: “Secu s| goed Lupron! CASE NO: | 2-19 03.2 INE:

Form 2-E

SUPPORTING SCHEDULES
For Period: ay / pie Y [eo Nez

POST PETITION TAXES PAYABLE SCHEDULE

‘Ending

Beginning Amount Amount Date Check
Balance

Balance (1) Accrued Paid ‘Paid Number

income Tax Withneic:
Federal 3 s$
State

FICA Tax Withheld

Employer's FICA Tax

Unemployment Tax
Federal

State

Sales, Use &
Excise Taxes

Property 1 axes
Accrued Income Tax:

Federal
State

Other: 5
—— eC

TOTALS $ = $ $s

 

 

 

 

 

 

(_) For first report, Beginning Balance will be.$0; thereafter, Beginning Balance wil! be Ending Balance from prior report

INSURANCE SCHEDULE

 

“7

Pramium
Carriar Amount of Expiration Paid
Coverage Bate Through
Workers' Compensation $ 3
General Liabillty Ss 3
Property (Fire, Theff) At tte $ .jparr A (7 ¢$ le
Vehicle hdentos $s gene pwoffe 5 S/F,
Other (list): 5 a
3

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nestor: (egy hywérré Cito CABENO: 12 -1403RMmER,

Form 2-E

SUPP G SCHEDULES
For Perio: ¢ 2 __ to tf x Ye

ACCOUNTS RECET VABLE AND POST PETITION PAYABLE AGING

 

 

Accounts Post Patifion
Due Receivabie Accounts Payable
2 3

Under 30 days
30 to 60 days
6110 90 days
91 io 120 days
Over 120 days

Total Post Petition

Pre Petition Amounts

Total Accounts Receivable s
Less: Bad Debt Reserve

Net Accounts Receivable (to Form 2-0} s

 

Total Pest Patition
S

Accounts Payable +

= Aftach 2 detail listing of accounts receivable and pest-petition accounts payable

SCHEDULE OF PAYMENTS TO ATTORNEYS AND OTHER | PROFESSIONALS

 

Month-end Current Paid in
“Retainer Month's Current Date of Month-end
Balance Acomnsal Month Court Aopreval Ratance Due *

Debtor's Counsel 3 5 3 $

Counsel for Unsecured

Creditors’ Committee

Trustes's Caunsel

Accountant

Other.

Total $ 5 5

 

 

*Sajance due to inciude fees and expanses incurred but nat yet paid.
apa

SCHEDULE OF PAYMENTS AND TRANSFERS TO PRINCIPALS/EXECUTIVES™

 

Pavee Name Position Nature of Payment Amount
$ Al

 

 

“List payments and transfer of any kind anc In any form made to or tor the baneftt of amy proprietor, owner,
Page 2 072

partner, shareholder, officer or directar,
Rey. 12/10/2009
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CASE NO:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

aera TE e a
DEBTOR: ESULY el yal Erte Evanson /3-1903DMEL .
Form 2-F
QUARTERLY FEE SUMMARY* ,
For the Month Ended: +f /307/e °
Cash Quarterly Date
Month Year Disbursements ™ Fee Due Check No. Paid
January 2
February
March
eee
TOTALtst Quarter 4 >
April b 206. 3fs
May
June
ts
TOTAL 2nd Quarter § 5
duly 5
August
September
ee
TOTAL ard Quarter 3
October 3
November
December
, oe pape
TOTAL4th Quarter 4 $
SEE SCHEDULE fas of JANUARY -1. 2008}
Subject to changes that may occur tp 26 U.S.C. 87830(a){6)
Quarteriv Disbursements Fee Quarteny Disbursements ee.
SO toch Tt Oo Gare ‘S325 $1,000,000 to$1,992,892......----- $6,500
$15,000 to S74,988........-. $550 $2,000,000 to $2,990,99o.. $9,750
$75,000 to 5142,.999._..... $975 $3,000,000 to $4,999, 909_.._....... $10,400
$150,000 to S224,999...... $1,625 $5,000,000 to 314,999,999 ....... $13,000
$225, 000 to $299,998_.... $1,250 375,000,000 to $29,990,990... $20,000
$300,000 to $999,999...... 34,875 $30,000,000 ar more $30,000

 

 

 

* This summary is to reflect the current calendar ye.

* Should agree with line 3, Form

Failure to pay the guartery fee is cause for canversion or dismissal of the
In addition, unpaid fees are considered a debi owed to

ars information cumulative to the end of th

2-B. Disbursements are net of transfers to other debtor in pos

chapter 17 case. [17 U.S.C. Sac. 117
the United States anc will be assessed intares! under 37 GS

© reporting period

session bank accounts

2(B)(10))
uc sarsT

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DEBTOR: Tenh t l WET Evanson CASENO: (37190 SAIMEE-

Form 2-6

NARRATE ;
For Period Ending [FO ME

any significant business and iegal actions taken by the debtor, Its creditors,
non-recurring accounting transactions that are reported in

Pjaase provide a brief description of
ioc, any unusual OF
cial condition of the debtor which have occurred

or the court during the reporting pen
the financial statements, and any significant changes in the finan

subsequent to the report date.

-

 

 

 

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Rev. iz/1a2ce3

 
Wats: farg@QdsoomERcipisH#:194

 

Wells Fargo Online®
Account Activity

WELLS FARGO AT WORK(SM) CHECKING XXXXXX3576

Activity Summary

Gurent Posted Ralancs

 

Pending witha wala! Debits

 

Pending Deposits Credits.

Available Balance

Filed:05/19/16

$3,577. a
8485, 92
$0.00

$3,091.25

Entered:05/19/16 09:09:57 PagBagedfaf4t

The Available Balance shown above reflects the most up-to-date information available on your account. The balances shown below next to the last transaction of each day do not
reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when the transaction posted, If you had insufficient available funds
when the transaction posted to your account, fees may have been assessed.

Transactions
Show: for Date Range 04/01/16 to 04/30/16

 

 

 

 

 

 

 

 

 

 

 

  

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date i Description Deposits / Credits Withdrawals / Debits Ending Daily
: i Balance
i Pending Transactions Note: Debit card transaction amounts may change
» No pending transactions meet your criteria above.
_ Posted Transactions
04/29/16 © PURCHASE AUTHORIZED ON 04/27 IKEA CENTENNIAL CENTENNIAL CO $107.88 $4,074.04
| $386118796332396 CARD 7458
04/29/16 §= PURCHASE AUTHORIZED ON 04/27 M & M CUT FLORA DENVER CO $110.40 ©
| $386118716719707 CARD 7458
04/2816 §= PURCHASE AUTHORIZED ON 04/28 SAFEWAY STORE 1548 LITTLETON CO $42.35 $4,292.32 |
P00466119650469814 CARD 7458 i
04/28/16 PURCHASE AUTHORIZED ON 04/28 SPROUTS FARMERS MKT#30 LONE TREE - $43.00
CO P00306119636648481 CARD 7458
04/28/16 PURCHASE AUTHORIZED ON 04/28 COSTCO WHSE #0468 LONE TREE CO $35.96
003061 19621936421 CARD 7458
04/28/16 PURCHASE AUTHORIZED ON 04/28 SAMS CLUB SAM'S Club LITTLETON SE $109.33 |
O P00000000052215827 CARD 7458 i
04/28/16 i PURCHASE AUTHORIZED ON 04/27 FLORAL SUPPLY SYND DENVER CO $29.60 |
» $466118704467114 CARD 7458 :
04/28/16 PURCHASE AUTHORIZED ON 04/27 SAMS CLUB #6634 LONE TREE CO $34.54 —
$006118572233689 CARD 7458 :
04/28/16 PURCHASE AUTHORIZED ON 04/26 PF CHANGS #1700 LONE TREE CO $43.33
| $306117668566453 CARD 4079 i
04/27/16 PURCHASE RETURN AUTHORIZED ON 04/27 JETRO HOLDINGS LLC $27.62 - $4,630.43
GREENWOOD VIL CO P003061 18759374376 CARD 7458 i :
04/27/16 © PURCHASE AUTHORIZED ON 04/27 SPROUTS FARMERS MKT#30 LONE TREE | $38.08
» CO P003861 18816528274 CARD 7458 :
04276 | PURCHASE AUTHORIZED ON 04/27 PARTY CITY 8481 S Yose Denver Park M $27.26
» CO P003861 18807 150480 CARD 7458 i
04/27/16 © PURCHASE AUTHORIZED ON 04/27 JETRO HOLDINGS LLC GREENWOOD VIL $150.99
CO P00466118781900133 CARD 7458
04/2716 = PURCHASE AUTHORIZED ON 04/27 SAM'S Club LITTLETON SE CO $295.84
_ P00000000646147278 CARD 7458 i
: 04/27/16 PURCHASE AUTHORIZED ON 04/27 SPROUTS FARMERS MKT#30 LONE TREE i $41.01
i » CO P00466118559458835 CARD 7458 i
04/26/16 © PURCHASE WITH CASH BACK $ 20.00 AUTHORIZED ON 04/26 KING SOOPERS $89.39 $5,155.99
400 RED C HIGHLANDS RAN CO P00386117691435088 CARD 7aob
04/26/16 eDeposit in Branch/Store 04/26/16 09:10:42 AM $233 E LINCOLN AVE LONE. $1,000.00
TREE CO 3576
04/25/16 PURCHASE WITH CASH BACK $ 20.00 AUTHORIZED ON 04/25 KING SOOPERS $53.08 $4,245.38 -
400 RED ¢ HIGHLANDS RAN GO P00586116573134160 CARD ce i
04/25/16 PURCHASE AUTHORIZED ON 04/22 JOHN HOLLY ASIAN B LONE TREE CO $30.87
$386114123389520 CARD 4079
04/25/16 PURCHASE AUTHORIZED ON 04/22 SAMS CLUB #6634 LONE TREE CO $16.00 -
_ $166113800604778 CARD 7458 i
8LJL vzAiRwjInRXz7hGzl... 5/16/2016

https://online.wellsfargo.com/das/cgi-bin/session.cgi?sessargs=
Wade leaodsoomeERctibir#:194 Filed:05/19/16 Entered:05/19/16 09:09:57 PagBag éfof4

 

 

 

 

 

 

 

Withdrawals / Debits |

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date 4 Description Deposits / Credits © Ending Daily
Balance
Oa/ezi16 PURCHASE AUTHORIZED ON 04/39 SPROUTS FARMERS MKT#30 LONE TREE ~
| CO P003861 13834593485 CARD 4079 i
04/22/16 PURCHASE AUTHORIZED ON 04/22 COSTCO WHSE #0468 LONE TREE CO $148.10 ©
P00586113792418115 CARD 7458
04/21/16 WASTE CONNECTION WEB_PAY APR 16 19424258042016 TERRY EVANSON $86.27 $4,521.62
04/20/16 INTEREST PAYMENT $0.03 $4,607.89
04/20/16 HUMANA, INC. INS PYMT 160418 235174141002235 174163 $161.92
04/206 = PURCHASE AUTHORIZED ON 04/20 COST PLUS WLD #176 ENGLEWOOD CO $18.42
| PO0466111818518453 CARD 7458
04/2046 PURCHASE AUTHORIZED ON 04/20 SPROUTS FARMERS MKT#30 LONE TREE $99.00
- CO P00586111754529878 CARD 7458
04/20/16 PURCHASE WITH CASH BACK $ 20.00 AUTHORIZED ON 04/20 SAFEWAY $26.16
| STORE 1548 LITTLETON CO P00386111644454071 CARD 7458
04/20/16 SSA TREAS 310 XXSOC SEC 042016 XXXXX9483B SSA LYNETTE P EVANSON _ $795.00 i
04/20/16 PURCHASE RETURN AUTHORIZED ON 04/19 PSV*Oxford Club 877-6539124 MD $49.00
$616111549452824 CARD 4079 i i
04/19/16 = eDeposit in Branch/Store 04/19/16 04:22:30 PM 9233 E LINCOLN AVE LONE $500.00 $4,069.36
| TREE CO 3576 i :
04/18/16 = PURCHASE RETURN AUTHORIZED ON 04/18 SAMSCLUB #6634 LONE TREE $10.34 $3,569.36
_ CO PO0000000856546579 CARD 7458 i i
04/18/16 PURCHASE RETURN AUTHORIZED ON 04/18 SAMSCLUB #6634 LONE TREE $30.86 |
CO Po0000000536080814 CARD 7458
04/18/16 PURCHASE AUTHORIZED ON 04/18 KING SOOPERS 7296 LAGA CASTLE $12.44
PINES CO P00308109822857236 CARD 7458
04/18/16 PURCHASE AUTHORIZED ON 04/18 PARTY GITY 8481 S Yose Denver Park M $38.21
CO P00586109749344220 CARD 7458
04/18/16 | PURCHASE AUTHORIZED ON 04/18 WM SUPERC Wal-Mart Sup HIGHLANDS $69.58 |
_ RAN CO P00000000936772727 CARD 7458 i
04/18/16 PURCHASE AUTHORIZED ON 04/15 WM SUPERC Wal-Mart Sup HIGHLANDS — i $44.84
RAN CO P00000000440956225 CARD 7458 : : :
04/18/16 PURCHASE AUTHORIZED ON 04/15 SAMSCLUB #6634 LITTLETON SE CO : $12.11
$306106646149637 CARD 4079 i :
04/18/16 eDeposit in Branch/Store 04/18/16 04:16:19 PM 8677 S QUEBEC ST HIGHLANDS $278.00
» RANCH CO 4079
04/15/16 KOHL’S DEPT STRS CHG PYMT 160414 043000096536390 EVANSON TERRY $370.23 $3,427.34
04/15/16 = PURCHASE AUTHORIZED ON 04/15 SAFEWAY STORE 1548 LITTLETON CO $4.98
: P00386107033507247 CARD 7458
04/15/16 PURCHASE AUTHORIZED ON 04/14 AMATO WHOLESALE FL DENVER CO $284.05
i $086105727048150 CARD 7458
04/15/16 = PURCHASE AUTHORIZED ON 04/13 SPROUTS FARMERS MA CASTLE ROCK $1.26
CO $386105094940971 CARD 4079 i '
04/15/16 Shelf Reliance Home Party 2327 Lynette P Evanson $180.73 |
- 04/14/16 == PURCHASE AUTHORIZED ON 04/14 SAMSCLUB #6634 LONE TREE CO $41.91 | $3,907.13 ©
; _ P90000000050220116 CARD 7458 : i
i 04/14/16 = PURCHASE AUTHORIZED ON 04/14 JETRO HOLDINGS LLC GREENWOOD VIL $147.60
i - CO P00306105858808670 CARD 7458
04/14/16 PURCHASE AUTHORIZED ON 04/14 SAMSCLUB #6634 LONE TREE CO $68.50
P00000000942621041 CARD 7458
04/14/16 PURCHASE AUTHORIZED ON 04/14 SAMS CLUB SAM'S Ciub LITTLETON SE $51.54
- €O P00000000750943540 CARD 7458
o44ii6 = PURCHASE AUTHORIZED ON 04/14 SAMS CLUB SAM'S Club LITTLETON SE $15.20 |
| CO P00000000450272237 CARD 7458 i
04/14/16 PURCHASE AUTHORIZED ON 04/13 BART G CHRISTIANSE CENTENNIAL CO $400.00 |
$006104703717052 CARD 4079 !
04/13/16 PURCHASE AUTHORIZED ON 04/13 KING SOOPERS 7295 LAGA CASTLE $5.50 - $4,631.88 |
ROCK CO P00386105019773333 CARD 4079
04/13/16 eDeposit in Branch/Store 04/13/16 03:40:38 PM 9233 E LINCOLN AVE LONE $3,625.00
TREE CO 4079
04/12/16 © PURCHASE AUTHORIZED ON 04/12 SAMSCLUB #6634 LONE TREE CO $119.91 $1,012.38
_ P00000000753242086 CARD 4079
04/12/16 PURCHASE AUTHORIZED ON 04/11 PRINTERPIX.COM 407-324-4816 FL $24.98
$466102695897528 CARD 4079 i
04/12/16 $146.40
https://online.wellsfargo.com/das/cgi-bin/session.cgi?sessargs=8LJ1_vzAiRwjlnRXz7hGzl... 5/16/2016
Hass: Tarq@dge2oMEActbte#:194 Filed:05/19/16 Entered:05/19/16 09:09:57 Pag@ageof a4

 

 

 

 

 

 

 

 

 

 

 

Date 4 Description Deposits / Credits Withdrawals / Debits Ending Daily —
Balance —
PURCHASE AUTHORIZED ON 04/17 AMATO WHOLESALE FL DENVER C6
SEBS 102607566238 CARD 7458
04/12/16 == PURCHASE AUTHORIZED ON 04/10 WESTSIDE TOWING IN CASTLE ROCK CO z $129.00 ;
$586101805383728 CARD 4079 i
04/11/16 TRANSAMERICA INS INSPAYMENT 37L/A 0842083752 EVANSON,LYNETTE ORS i $49.44 : $1,432.67
TER i i i
04/11/16 PURCHASE AUTHORIZED ON 04/11 SAFEWAY STORE 1548 LITTLETON CO i $12.87

» P00306102652373795 CARD 7458

 

04/11/16 © PURCHASE AUTHORIZED ON 04/11 SAM'S Club LITTLETON SE CO i $121.00
» PQ0000000951388106 CARD 7458 i

04/14/16 PURCHASE AUTHORIZED ON 04/09 SAMSCLUB 6634 GAS LONE TREE CO $8.89
» $466100744904080 CARD 4079

04/11/16 PURCHASE AUTHORIZED ON 04/09 SAMSCLUB #6634 LONE TREE CO $9.48
_ P00000000831656293 CARD 7458 i

O4/T1/16 PURCHASE AUTHORIZED ON 04/09 SAMSCLUB #6634 LONE TREE CO : i $135.61
- P00000000053905054 CARD 7458 i i

o4/11/16 PURCHASE AUTHORIZED ON 04/09 SPROUTS FARMERS MKT#30 LONE TREE : $36.37
CO P00466100691618127 CARD 7458 ;

04/11/16 © PURCHASE AUTHORIZED ON 04/08 OUTBACK 0814 HIGHLANDS RAN CO i | $21.38
. $306089850201951 CARD 4079 i i

0411/16 = PURCHASE AUTHORIZED ON 04/08 PUBLIC WORKS-PRKG DENVER CO i $1.25 |
» $386099523758705 CARD 4079 ; j i

 

 

$157.15

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

04/11/16 PURCHASE AUTHORIZED ON 04/07 TLF ASSOC WHOLESAL 303-4551234 CO
$386098720482378 CARD 7458
o4ii116 PURCHASE AUTHORIZED ON 04/07 M & M CUT FLORA DENVER CO i $28.35
$5880987 10378225 CARD 7458 i
04/11/16 = =PURCHASE AUTHORIZED ON 04/07 M & M CUT FLORA DENVER CO i $76.65 |
: $306098708691298 CARD 7458 2
04/08/16 LDS CHURCH DONATION 160408 8007351 EVANSON TERRY LEE | : $500.00 $2,091.11 s
04/08/16 = =PURCHASE AUTHORIZED ON 04/08 SAM'S Club LITTLETON SE CO i $15.92 | i
P00000000334470002 CARD 7458 i :
04/08/16 PURCHASE AUTHORIZED ON 04/07 FLORAL SUPPLY SYND DENVER CO ' i $23.75
$586098696679265 CARD 7458 i i E
04/0816 = PURCHASE AUTHORIZED ON 04/07 SMASHBURGER #1258 LONETREECO $9.16 |
i $386098625338005 CARD 4079 i i i
04/08/16 = PURCHASE AUTHORIZED ON 04/07 SAMSCLUB #6634 LITTLETON SE CO i $33.19
. $586098569965479 CARD 7458 i
04/07/16 : PURCHASE AUTHORIZED ON 04/07 TARGET T- 10001 Common Lone Tree CO é $24.86 $2,673.13
» PQ0000000752325851 CARD 7458 : i
04/07/16 PURCHASE AUTHORIZED ON 04/07 HOB-LOB #117 8181 S. Q Centennial CO $49.23
P00466098631676877 CARD 7458 : ;
04/07/16 PURCHASE AUTHORIZED ON 04/07 DOLLARTREE 8575 § QUBE HIGHLANDS $22.00 |
» RAN CO P00000000359350324 CARD 7458 : ; :
04/07/16 © PURCHASE AUTHORIZED ON 04/06 KING SOOPERS 400 RED CHIGHLANDS i $42.90 |
‘ » RAN CO P00586098097877022 CARD 7458 i i
i 04/06/16 i PURCHASE AUTHORIZED ON 04/04 SPROUTS FARMERS MA LONE TREE CO i $5.28 = $2,812.12
; : $306095682958074 CARD 7458. ; i :
04/06/16 PURCHASE AUTHORIZED ON 04/05 NMX*FRANKLN PROSPE 800-4854350 FL : $1.97.
$306095596169603 CARD 4079 i
04/05/16 SAFECO INSURANCE INS PREM 041016 71077376730 TERRY EVANSON : $342.75 $2,819.37
04/05/16 PURCHASE AUTHORIZED ON 04/05 MICHAELS STORES INC971 ENGLEWOOD $22.57 |
! CO P00000000445192714 CARD 7458 ‘ i
04/05/16 PURCHASE AUTHORIZED ON 04/05 SPROUTS FARMERS MKT#30 LONE TREE | j $15.69
_ CO P00466096731257954 CARD 7458 i
04/05/16 PURCHASE AUTHORIZED ON 04/05 SAM'S Club LITTLETON SE CO $269.05 ©
P00000000947917178 CARD 7458
04/05/16 PURCHASE AUTHORIZED ON 04/04 PRINTERPIX.COM 407-324-4816 FL $25.99
$386095636798200 CARD 4079 E

 

04/05/16 §= PURCHASE AUTHORIZED ON 04/04 SAMSCLUB 6634 GAS LONE TREE CO : $18.94
 $306095562086912 CARD 4079 j i

 

04/04/16 PURCHASE AUTHORIZED ON 04/02 SUBWAY 0005 LITTLETON CO i j $12.86 | $3,514.36 |
$586093734461833 CARD 4079 i

04/04/16 PURCHASE AUTHORIZED ON 04/02 SAMS CLUB #6634 LONE TREE CO $21.21 |
3166093712803515 CARD 4079 I

https://online.wellsfargo.com/das/cgi-bin/session.cgi?sessargs=8LJI_ vzAiRwjlnRXz7hGzl... 5/16/2016
Wats: TarqodsnomERctpse#:194 Filed:05/19/16 Entered:05/19/16 09:09:57 Pagbagr drot4

 

 

 

 

Ending Daily —

 

 

 

 

 

 

 

 

Date i Description Deposits / Credits Withdrawals / Debits ©
j : Balance -
adioaiié PURCHASE AUTHORIZED ON 04/07 DESERET BOOK CO 60 LITTLETON CO “2419
$386092699609797 CARD 4079 i
04/04/16 PURCHASE AUTHORIZED ON 04/01 SAMS CLUB #6634 LONE TREE CO $19.23
| §286092543273128 CARD 4079 i
04/01/16 DISH NETWORK DISH NTWRK 033016 9060370845 SPA EVANSON, TERRY $131.67 $3,591.76
04/01/16 PURCHASE AUTHORIZED ON 04/01 KING SOOPERS 400 RED C HIGHLANDS $29.47
RAN CO P00386092766822090 CARD 7458
04/01/16 PURCHASE AUTHORIZED ON 03/30 OUTBACK 0626 CASTLE ROCK CO $30.87
$386090852616775 CARD 4079
| Totals $6,496.58 $6,206.31
Deposit products offered by Wells Fargo Bank, N.A. Member FDIC. Wells Fargo Bank, N.A. is a banking affiliate of Wells Fargo & Company.
(: Equal Housing Lender
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https://online.wellsfargo.com/das/cgi-bin/session.cgi?sessargs=8LJL vzAiRwjlnRXz7hGzl... 5/16/2016
